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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


 DIGITAL TECHNOLOGIES LLC,

                             Plaintiff,

                v.                                  Civil Action No. 2:15-cv-1000
 SAMSUNG ELECTRONICS AMERICA,                        JURY TRIAL DEMANDED
 INC., AND SAMSUNG
 TELECOMMUNICATIONS AMERICA,
 LLC,

                             Defendants.


                      CORPORATE DISCLOSURE STATEMENT

        Plaintiff Digital Technologies LLC is a Texas limited liability company. Digital

Technologies LLC has no parent corporation, and no publicly held company owns 10% or more

of its stock.
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       DATED June 8, 2015.                            Respectfully submitted,

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                                                      ATTORNEYS FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 8th day of June, 2015, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.

                                              /s/ Stevenson Moore___
                                              Stevenson Moore
